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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA


CHEYENNE JOHNSON,

       Plaintiff,
                                          Case No.: _____________________
v.
                                          JURY TRIAL DEMANDED
AUTO PARTNERS I, LLC
and AUTO PARTNERS IV, LLC,

      Defendants.
_________________________________/

             COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, CHEYENNE JOHNSON (“Plaintiff” or “Ms. Johnson”), by and

through her undersigned counsel, hereby complains of Defendants, AUTO

PARTNERS I, LLC (“Defendant Auto Partners I”) and AUTO PARTNERS IV,

LLC (“Defendant Auto Partners IV”) (collectively, the “Defendants”), and

alleges as follows:

                             INTRODUCTION

      1.    This case involves a pregnant woman who was discriminated

against and unlawfully terminated by her employer under the guise of a

business reorganization.

      2.    Ms. Johnson brings this action pursuant to Title VII of the Civil

Rights Act of 1964, 42 U.S.C. § 2000e et seq. (“Title VII”) and the Employee

Retirement Income Security Act, 29 U.S.C. § 1001 et seq. (“ERISA”).


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      3.    Ms. Johnson seeks monetary relief to redress the Defendants’

unlawful employment practices in violation of Title VII and ERISA.

Additionally, this action seeks to redress Defendants’ deprivation of Ms.

Johnson’s personal dignity and her civil right to pursue equal employment

opportunities.

                                  PARTIES

      4.    Plaintiff is an individual female residing in the State of Florida,

who was pregnant at the time of her termination.

      5.    Defendant Auto Partners I is a Florida Limited Liability Company,

with its principal place of business located at 1000 U.S. Highway 1, Vero

Beach, Florida 32960.

      6.    Defendant Auto Partners I operates car dealerships and does

business under the name “Dyer Chevrolet.”

      7.    Defendant Auto Partners IV is a Florida Limited Liability

Company registered in the State of Florida, with its principal place of business

located at 23280 Highway 27, Lake Wales, Florida 33859.

      8.    Defendant Auto Partners IV operates car dealerships and does

business under the names “Dyer Kia” and “Dyer Kia Lake Wales.”

      9.    Upon information and belief, Defendant Auto Partners I and

Defendant Auto Partners IV were the Plaintiff’s joint and/or sole employer.




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      10.   The exact number of employees of Defendants is unknown, but

upon information and belief, there are well more than the statutory minimum

under Title VII.

      11.   Defendants are an “employer” within the meaning of 42 U.S.C. §

2000e(b).

      12.   Defendants are an “employer” within the meaning of 29 U.S.C. §

1002(5).

                       JURISDICTION AND VENUE

      13.   This Court has jurisdiction over this matter pursuant 28 U.S.C. §

1331. This action is authorized and instituted pursuant to 42 U.S.C. § 2000e-

5(f) and 29 U.S.C. § 1132(a).

      14.   Venue is proper in this Court under 28 U.S.C. §1391 because the

unlawful employment practices alleged below were committed within the

jurisdiction of the United States District Court for the Middle District of

Florida. A substantial part of the events or omissions giving rise to this action,

including the unlawful employment practices alleged herein, occurred in this

district.

                   ADMINISTRATIVE PREREQUISITES

      15.   Plaintiff has complied with all administrative requirements.




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      16.   On or about August 19, 2022, Plaintiff timely filed a charge of

discrimination (Charge No. 510-2022-07469) against Defendant Auto Partners

I with the U.S. Equal Employment Opportunity Commission (“EEOC”).

      17.   Plaintiff was unable to ascertain Defendant Auto Partners IV as a

proper named party in her charge of discrimination because Defendant Auto

Partners I and Defendant Auto Partners IV share an identity of interest and

both conduct business as “Dyer Auto Group.”

      18.   By means of example, despite Plaintiff naming Defendant Auto

Partners I in her charge of discrimination, Defendant Auto Partners IV

provided the position statement to the EEOC and alleged that Defendant Auto

Partners IV was Ms. Johnson’s employer.

      19.   Defendant Auto Partners IV received adequate notice of Plaintiff’s

EEOC charge and was not prejudiced by Plaintiff’s naming error.

      20.   On or about October 19, 2023, the EEOC issued Plaintiff’s Notice

of Right to Sue against Defendant Auto Partners I.

      21.   Plaintiff is timely commencing this action within ninety (90) days

of receipt of the Notice of Right to Sue.

                         FACTUAL ALLEGATIONS

      22.   In or around March of 2022, Ms. Johnson received an unsolicited

telephone call from Ryan Pill (“Pill”), an individual male employed by

Defendants as Internet Sales Manager.


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      23.   Pill had received Ms. Johnson’s contact information from a friend

of Ms. Johnson and contacted Ms. Johnson to recruit her to come work for

Defendants.

      24.   Specifically, Pill informed Ms. Johnson that Defendants were

looking for employees to fill Business Development Coordinator Internet Sales

(“BDC Internet Sales”) positions.

      25.   Pill also informed Ms. Johnson that the BDC Internet Sales

positions were fully remote.

      26.   Ms. Johnson was four months pregnant at the time and was

hesitant to change jobs.

      27.   Ms. Johnson continued to exchange text messages regarding the

position with Pill for approximately a week and a half.

      28.   Pill gave Ms. Johnson assurances of the compensation structure

and health benefits offered as part of the position.

      29.   Ms. Johnson saw the position as a valuable career opportunity and

submitted an application for the role.

      30.   On or around March 22, 2022, Ms. Johnson was interviewed for

the position by Pill; Bobby Ruis (“Ruis”), an individual male employed by

Defendants as Sales Manager; Corey Clough (“Clough”), an individual male

employed by Defendants as Sales Manager; and Denny Hodges (“Hodges), an

individual male employed by Defendant as Internet Sales Director.


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      31.    On or around March 23, 2022, Pill offered Ms. Johnson an on-site

BDC Internet Sales Position, rather than the remote position Pill had

previously discussed with Ms. Johnson.

      32.    Ms. Johnson raised this issue with Pill immediately, as she had

specifically applied for the position because it was 100% remote.

      33.    The remote work aspect of the position was extremely important

to Ms. Johnson due to her pregnancy and the fact that she lived more than an

hour away from Defendants’ work location.

      34.    In response to Ms. Johnson raising these concerns, Pill stated he

would need to speak with Hodges.

      35.    Shortly thereafter, Pill called Ms. Johnson back and informed Ms.

Johnson that she would be given a fully remote position closer to her expected

due date. Pill also stated that Ms. Johnson would be fully remote after her

return from maternity leave.

      36.    Pill assured Ms. Johnson of these accommodations and that

Hodges had approved them.

      37.    Based on Pill’s representations, Ms. Johnson accepted the job offer.

Ms. Johnson understood the offer to be a full-time position, which included a

base salary, commission structure, and employment benefits, such as health

insurance.




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      38.   On or around March 31, 2022, Ms. Johnson reported to

Defendants’ work location to sign her employment documents and receive

Defendants’ employment policies.

      39.   Ms. Johnson was supervised by Pill and Hodges. Pill and Hodges

had supervisory authority over Ms. Johnson, including the power to hire, fire,

demote, and promote Ms. Johnson.

      40.   Per Defendants’ employment policies, Ms. Johnson was entitled to

full health insurance benefits sixty (60) days from the start of her employment.

      41.   On or around April 1, 2022, Ms. Johnson began working for

Defendants.

      42.   During her employment with Defendants, Ms. Johnson had a

record of positive performance.

      43.   Several weeks after starting her position, Ms. Johnson was

approached by Pill and Hodges.

      44.   Pill and Hodges asked Ms. Johnson to switch from a full-time, W-

2 employee, to a commission-only, 1099 independent contractor.

      45.   Defendants intended to classify Ms. Johnson as an independent

contractor, despite the lack of any material change in Ms. Johnson’s

employment relationship with Defendants.




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     46.    In an effort to coerce Ms. Johnson, Pill and Hodges offered to allow

Ms. Johnson to work remotely immediately, but only if she agreed to be deemed

a 1099 independent contractor.

     47.    Ms. Johnson declined the offer and informed Pill and Hodges that

she needed health insurance benefits that she had been promised as an

employee.

     48.    On or around May 26, 2022, Rachel Foley (“Foley”), an individual

female employed by Defendants as Internet Sales Manager, became Ms.

Johnson’s new supervisor.

     49.    Foley had supervisory authority over Ms. Johnson, including the

power to hire, fire, demote, and promote Ms. Johnson.

     50.    On or around June 28, 2022, Ms. Johnson’s physician advised her

that she needed to reduce her stress levels, attend more frequent check-ups

because she was experiencing swelling and high blood pressure, and begin

working remotely as soon as possible to eliminate her two-hour commute.

     51.    Following this appointment with her doctor, Ms. Johnson followed

up with Foley in-person to inquire about the status of her pregnancy

accommodation and the status of her health insurance benefits. In response,

Foley stated she would investigate both matters.




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        52.   On or around July 1, 2022, Ms. Johnson sent an email message to

Foley and Hodges to follow up again regarding her pregnancy accommodation

and the status of her health insurance benefits.

        53.   That same day, Foley spoke with Ms. Johnson in-person and

advised her that she was still investigating both issues. Foley further stated

that she had recommended to Defendants’ management that Ms. Johnson

receive an increase in base pay and her commission pay.

        54.   On or around July 7, 2022, Ms. Johnson learned that Foley was no

longer employed by Defendants. Ms. Johnson’s co-worker informed Ms.

Johnson that Foley’s termination was related to a disagreement between Foley

and Defendants’ management regarding the pay and benefits given to Foley’s

team.

        55.   On or around July 8, 2022. Ms. Johnson followed up with Hodges

again via email regarding her pregnancy accommodation and health insurance

benefits.

        56.   That same day, Hodges spoke with Ms. Johnson in-person. Hodges

informed Ms. Johnson that it was a “company oversight” that Ms. Johnson had

not been provided the paperwork for her to enroll in Defendants’ health

insurance.

        57.   Hodges further stated that if Ms. Johnson wanted to receive health

insurance benefits she could either: (1) pay all of the past monthly insurance


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premiums, in full, to have the insurance backdated, or (2) wait until the next

time an insurance representative visited the dealership.

      58.   Hodges informed Ms. Johnson that the past monthly insurance

premiums would be several hundred dollars.

      59.   Ms. Johnson had been paying out-of-pocket for her OB/GYN visits

since starting work for the Defendants and could not afford to pay the

insurance premiums in full.

      60.   As a result, Ms. Johnson was left with no choice but to continue

working with no health insurance benefits and wait for the unspecified date

when an insurance representative would visit the dealership.

      61.   On or around July 12, 2022, Ms. Johnson had a visit with her

physician. Ms. Johnson’s physician reiterated the concerns about Ms.

Johnson’s blood pressure and the need for her to reduce her stress level and

eliminate her long commute.

      62.   Ms. Johnson’s physician also emphasized the importance of Ms.

Johnson working remotely so that she would be closer to her physician’s office

and the hospital.

      63.   On or around July 13, 2022, Ms. Johnson was asked to meet with

Hodges and David Dlugokecki (“Dlugokecki”), an individual male employed by

Defendants as General Manager.




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      64.   In the meeting, Hodges and Dlugokecki informed Ms. Johnson that

her pregnancy accommodation to work remotely had been approved, and that

Ms. Johnson could begin working remotely with two weeks’ notice.

      65.   Hodges and Dlugokecki further stated that Ms. Johnson would be

allowed to work fully remotely at the conclusion of her six weeks of unpaid

maternity leave.

      66.   On or around July 15, 2022, Ms. Johnson was asked to meet with

Clough and an individual female Ms. Johnson had never met before.

      67.   Clough started the meeting by praising Ms. Johnson’s work

performance and stating that Ms. Johnson had never received any complaints.

Clough’s praise of Ms. Johnson’s work performance led her to believe she may

be receiving a raise from Defendants.

      68.   Clough then proceeded to inform Ms. Johnson that she was being

terminated because Defendants were going in a different direction.

Specifically,   Clough   stated   that   Defendants   would   begin   requiring

salespersons to make their own appointments.

      69.   Ms. Johnson was confused by Clough’s justification, as Defendants

had hired two new female employees on or around July 11, 2022, to schedule

appointments for the salespersons.

      70.   Clough then asked Ms. Johnson to sign a document that was folded

over on the desk so that only the signature lines were visible on the document.


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      71.   Ms. Johnson asked to read the document before signing it. In

response, Clough stated that Ms. Johnson did not need to read it and instructed

her to sign the document.

      72.   Ms. Johnson felt extremely pressured and initially began to sign

the document, but quickly stopped before completing her signature because

she was not being given an opportunity to review the agreement.

      73.   Rather than allowing Ms. Johnson to read the document, Clough

told Ms. Johnson to leave. Ms. Johnson was then forced to clean out her desk

and exit the building.

      74.   On or around July 15, 2022, Ms. Johnson was unlawfully

terminated by Defendants.

      75.   Defendants unlawfully discriminated against Ms. Johnson on the

on the basis of her pregnancy and retaliated against Ms. Johnson for opposing

the Defendants’ unlawful employment practices.

      76.   Defendants terminated Ms. Johnson to avoid paying her health

insurance benefits and because Ms. Johnson refused to be misclassified as an

independent contractor.

      77.   Ms. Johnson was denied meaningful access to any administrative

remedies related to her health insurance benefits, as she was not provided with

any resources or information related to the benefit plan.




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      78.   The above-described conduct are just some examples of the

discriminatory conduct and retaliation to which Defendants subjected Ms.

Johnson.

      79.   Defendants’ discrimination, interference, and retaliation, against

Ms. Johnson was in violation of Title VII and ERISA.

      80.   Ms. Johnson claims a continuous practice of discrimination and

claims continuing violations and makes all claims herein under the continuing

violations doctrine.

      81.   At all relevant times, Defendants’ employees were acting as agents

of Defendants in their discriminatory, retaliatory, and unlawful treatment of

Ms. Johnson.

      82.   At all relevant times, Defendants acted with deliberate

indifference to the discriminatory treatment, hostile work environment, and

retaliation complained of herein.

      83.   As a result of Defendants’ actions, Ms. Johnson felt extremely

humiliated, degraded, victimized, embarrassed, and emotionally distressed.

      84.   As a result of the acts and conduct complained herein, Ms. Johnson

has suffered and will continue to suffer the loss of income, the loss of salary,

bonuses, benefits, and other compensation which such employment entails,

and Ms. Johnson has also suffered future pecuniary losses, emotional pain,

humiliation, suffering, inconvenience, loss of enjoyment of life, and other non-


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pecuniary losses. Ms. Johnson has further experienced severe emotional and

physical distress.

      85.     Defendants’ conduct has been malicious, willful, outrageous, and

conducted with full knowledge of the law, so as to support and justify an award

of punitive damages against Defendants.

      86.     Defendants are either directly or vicariously responsible for the

unlawful facts and conduct complained of herein.

                             CAUSES OF ACTION
                                    COUNT I
                               42 U.S.C. § 2000e-2
                              Sex Discrimination
                     (Plaintiff as Against all Defendants)

      87.     Plaintiff reincorporates the factual allegations in Paragraphs 22

through 86.

      88.     Title VII provides, in relevant part, that “it shall be an unlawful

employment practice for an employer . . . to discriminate against any individual

with respect to his compensation, terms, conditions, or privileges of

employment, because of his race, color, religion, sex, or national origin.” 42

U.S.C. § 2000e-2(a)(1).

      89.     Title VII further provides that “an unlawful employment practice

is established when the complaining party demonstrates that race, color,

religion, sex, or national origin was a motivating factor for any employment




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practice, even though other factors also motivated the practice.” 42 U.S.C. §

2000e-2(m).

     90.      Title VII defines “because of sex” and “on the basis of sex” to

include discrimination on the basis of “pregnancy, childbirth, or related

medical conditions” and requires that “women affected by pregnancy,

childbirth, or related medical conditions shall be treated the same for all

employment-related purposes.” 42 U.S.C. § 2000e(k).

     91.      Ms. Johnson was a pregnant woman and was therefore a protected

class member.

     92.      The elements of a prima facie case of disparate treatment are

flexible and are tailored on a case-by-case basis to differing factual

circumstances.

     93.      Defendants subjected Ms. Johnson to discriminatory treatment on

the basis of her sex. Defendants’ discriminatory treatment included, but was

not limited to, failing to accommodate Ms. Johnson’s pregnancy and

pregnancy-related conditions, interfering with Ms. Johnson’s access to health

insurance benefits, denying Ms. Johnson the same privileges and benefits

afforded to non-pregnant employees, attempting to wrongfully misclassify Ms.

Johnson as an independent contractor, and unlawfully terminating Ms.

Johnson.




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      94.   Defendants targeted Ms. Johnson because she was a pregnant

female and because she attempted to take maternity leave. No similarly

situated non-pregnant employees endured the discriminatory conduct that Ms.

Johnson was forced to endure.

      95.   The discriminatory actions of the Defendants against Ms. Johnson,

as described and set forth above, constitute an adverse employment action for

purposes of the Title VII. In subjecting Ms. Johnson to adverse employment

actions, the Defendants intentionally discriminated against Ms. Johnson with

respect to the compensation, terms, conditions, or privileges of her

employment.

      96.   As a direct and proximate result of the Defendants’ intentional

discriminatory conduct in violation of Title VII, Ms. Johnson has suffered and

will continue to suffer financial and economic damages in the form of lost wages

(front and back pay) and lost benefits. Ms. Johnson has also suffered and will

continue to suffer emotional distress, mental anguish, loss of dignity, and other

intangible damages Ms. Johnson accordingly demands lost economic damages,

lost wages, back pay, interest, front pay, the value and/or economic impact of

lost benefits, and compensatory damages.

      97.   The Defendants’ actions were knowing, intentional, willful,

malicious, and in reckless disregard of Ms. Johnson’ rights under Title VII,




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warranting the imposition of punitive damages, in addition to compensatory

damages.

      98.     The conduct of the Defendants deprived Ms. Johnson of her

statutory rights guaranteed under Title VII.

      99.     Ms. Johnson further requests that her attorney’s fees and costs be

awarded as permitted by law.

                                  COUNT II
                              42 U.S.C. § 2000e-3
                                  Retaliation
                    (Plaintiff as Against all Defendants)

      100. Plaintiff reincorporates the factual allegations in Paragraphs 22

through 86.

      101. Title VII prohibits retaliation in any manner against a person who

has opposed a discriminatory practice, or who has participated in any

investigation, proceeding or hearing related to an unlawful discriminatory

practice. 42 U.S.C. § 2000e-3(a).

      102. Ms. Johnson was a pregnant woman and was therefore a protected

class member.

      103. Ms. Johnson engaged in a protected activity when she opposed the

Defendants’ unlawful discriminatory conduct on the basis of her sex and

pregnancy.




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      104. In response to Ms. Johnson opposing the discriminatory conduct

and asserting her right to enjoy the same employment benefits as every other

employee, the Defendants retaliated against Ms. Johnson.

      105. Defendants retaliated against Ms. Johnson by engaging in

conduct, including but not limited to, interfering with Ms. Johnson’s access to

health insurance benefits, denying Ms. Johnson the same privileges and

benefits afforded to non-pregnant employees, attempting to wrongfully

misclassify Ms. Johnson as an independent contractor, and unlawfully

terminating Ms. Johnson.

      106. The Defendants took the above-mentioned materially adverse

actions, among others, against Ms. Johnson because of her protected activities.

      107. Any reasonable employee in Ms. Johnson’ position would be

dissuaded from opposing discriminatory conduct if they knew that they would

be subjected to the kind of treatment that Ms. Johnson was forced to endure.

      108. The Defendants’ alleged bases for its adverse employment actions

against Ms. Johnson are pretextual and have been asserted only to cover up

the retaliatory nature of Defendants’ conduct.

      109. As a direct and proximate result of the Defendants’ retaliatory

conduct in violation of the Title VII, Ms. Johnson has suffered and will continue

to suffer financial and economic damages in the form of lost wages (front and

back pay) and lost benefits. Ms. Johnson has also suffered and will continue


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to suffer emotional distress, mental anguish, loss of dignity, and other

intangible damages Ms. Johnson accordingly demands lost economic damages,

lost wages, back pay, interest, front pay, the value and/or economic impact of

lost benefits, and compensatory damages.

      110. The Defendants’ actions were knowing, intentional, willful,

malicious, and in reckless disregard of the Ms. Johnson’ rights under Title VII,

warranting the imposition of punitive damages in addition to compensatory

damages.

      111. The conduct of the Defendants deprived Ms. Johnson of her

statutory rights guaranteed under Title VII.

      112. Ms. Johnson further requests that her attorney’s fees and costs be

awarded as permitted by law.

                                 COUNT III
                               29 U.S.C. § 1140
                                Interference
                   (Plaintiff as Against all Defendants)

      113. Plaintiff reincorporates the factual allegations in Paragraphs 22

through 86.

      114. ERISA makes it unlawful to discharge, fine, suspend, expel,

discipline, or discriminate against a participant or beneficiary for the purpose

of interfering with the attainment of any right to which a such participant may

become entitled. 29 U.S.C. § 1140.



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      115. Defendants provided Ms. Johnson with an employee welfare plan

as defined by 29 U.S.C. § 1002(a), specifically, health insurance.

      116. Ms. Johnson was qualified for her position based on her education

and work experience.

      117. Ms. Johnson was entitled to protection under ERISA as a

participant and beneficiary in an ERISA plan.

      118. Defendants specifically intended to interfere with Ms. Johnson’s

ERISA rights when Defendants prevented Ms. Johnson from enrolling in the

ERISA-covered benefit plan, delayed Ms. Johnson’s access to benefits under

the plan, failed to take adequate remedial measures after learning of Ms.

Johnson’s improper denial of access to the plan, and unlawfully terminated Ms.

Johnson before she could exercise her benefits.

      119. Defendants had knowledge that Ms. Johnson had refused to be

classified as a 1099 independent contractor and engaged in the above-

mentioned conduct to prevent Ms. Johnson from exercising her benefits under

the ERISA-covered employee benefit plan.

      120. Defendants had knowledge that Ms. Johnson would exercise her

health benefits to pay for the medical costs associated with her pregnancy.

      121. Defendants interfered with Plaintiff’s rights to benefits under the

ERISA-covered employee benefit plan, in whole or in part, because Defendants

did not wish to bear the costs of Plaintiff’s healthcare.


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      122. The circumstances of Defendants’ interference with Ms. Johnson’s

protected rights under ERISA give rise to an inference of discrimination.

      123. Defendants’ conduct was intentional and willful.

      124. As a direct and proximate result of the Defendants’ interference in

violation of ERISA, Ms. Johnson has suffered and will continue to suffer

financial and economic damages in the form of lost wages (front and back pay),

lost benefits, and medical expenses. Ms. Johnson accordingly demands any

and all relief available to her, including but not limited, lost economic damages,

lost wages, back pay, front pay, the value and/or economic impact of lost

benefits, reinstatement, compensatory damages, and interest.

      125. The conduct of the Defendants deprived Ms. Johnson of her

statutory rights guaranteed under ERISA.

      126. Ms. Johnson further requests that her attorney’s fees and costs be

awarded as permitted by law.

                                 COUNT IV
                               29 U.S.C. § 1109
                        Breach of Fiduciary Duty
                   (Plaintiff as Against all Defendants)

      127. Ms. Johnson reincorporates the factual allegations in Paragraphs

22 through 86.

      128. ERISA provides, in pertinent part, that any person who is a

fiduciary with respect to a plan who breaches any of the responsibilities,



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obligations, or duties imposed upon fiduciaries by this subchapter shall be

personally liable to make good to such plan any losses to the plan resulting

from each such breach, and to restore to such plan any profits of such fiduciary

which have been made through use of assets of the plan by the fiduciary, and

shall be subject to such other equitable or remedial relief as the court may

deem appropriate, including removal of such fiduciary. 29 U.S.C. § 1109(a)

      129. ERISA requires that a fiduciary discharge his duties with respect

to a plan solely in the interest of the participants and beneficiaries, for the

exclusive purpose of providing benefits to participants and beneficiaries, and

with the care, skill, prudence, and diligence under the circumstances then

prevailing that a prudent man acting in a like capacity and familiar with such

matters would use in the conduct of an enterprise of a like character and with

like aims. 29 U.S.C. § 1104(a)(1),

      130. Defendants provided Ms. Johnson with an employee welfare plan

as defined by 29 U.S.C. § 1002(a), specifically, health insurance.

      131. Ms. Johnson was entitled to protection under ERISA as a

participant and beneficiary in an ERISA plan.

      132. Defendants were entities exercising discretionary authority or

discretionary control over Ms. Johnson’s ERISA-covered benefit plan, and

therefore qualify as fiduciaries within the meaning of 29 U.S.C. § 1002(21)(A).




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      133. Defendants breached one or more fiduciary duties by engaging in

conduct including, but not limited to, failing to disclose and inform Ms.

Johnson of her rights and benefits under the ERISA-covered plan, failing to

convey complete and accurate information regarding the plan to Ms. Johnson,

failing to allow Ms. Johnson to enroll in the plan, delaying Ms. Johnson’s access

to benefits under the plan, failing to take adequate remedial measures after

learning of Ms. Johnson’s improper denial of access to the plan, and unlawfully

terminating Ms. Johnson before she could exercise her benefits under the plan.

      134. Defendants’ conduct was intentional and willful.

      135. Plaintiff is entitled to equitable or remedial relief as the court may

deem appropriate for the Defendants’ breaches. 29 U.S.C. § 1109(a).

      136. As a direct and proximate result of the Defendants’ wrongful

conduct in violation of ERISA, Ms. Johnson has suffered and will continue to

suffer financial and economic damages in the form of lost wages (front and back

pay), lost benefits, and medical expenses. Ms. Johnson accordingly demands

any and all relief available to her, including but not limited, lost economic

damages, lost wages, back pay, front pay, the value and/or economic impact of

lost benefits, reinstatement, compensatory damages, and interest.

      137. The conduct of the Defendants deprived Ms. Johnson of her

statutory rights guaranteed under ERISA.




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      138. Ms. Johnson further requests that her attorney’s fees and costs be

awarded as permitted by law.

                               JURY DEMAND

      Plaintiff hereby demands a jury trial on all issues to be tried.

                           PRAYER FOR RELIEF

      WHEREFORE, the Plaintiff respectfully requests this Court enter

judgment against the Defendants for all damages suffered by the Plaintiff,

including economic damages, lost wages (back pay and front pay) and benefits,

liquidated damages, statutory damages, compensatory damages, emotional

distress damages, punitive damages, interest, attorney’s fees and costs,

disbursements of action, and any other remedies (monetary and/or equitable)

allowable by law as a result of the Defendants’ conduct in violation of Title VII

and ERISA.

Dated: Miami, Florida                DEREK SMITH LAW GROUP, PLLC
       December 4, 2023,             Counsel for Plaintiff

                                     /s/ Kyle T. MacDonald
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